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 3                                                     CLERK; IJ.S. ~IS'"R!CT(;OURT


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                                                      CENTRAL DISTRI(~f OF CALIFORNIA
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 s                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11           STATES OF AMERICA,                  Case No.: $~ a0- C~Z -OOS~ - 3LS- j
12                           Plaintiff,          ORDER OF DETENTION AFTER
                                                 HEARING
13                 vs.                           [Fed. R. Crim. P. 32.1(a)(6); 18 U.S.C.
                                                  § 3143(a)]
14
      ~~ ie~ Mores
15                           Defendant.
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17       The defendant having been arrested in this District pursuant to a warrant issued
18    the United States District Court for the    Qer~ D~~~ C~.A
19   r alleged violations) ofthe terms and conditions of his/der ~~-[supervised
20   lease]; and
21       The Court having conducted a detention hearing pursuant to Federal Rule of
22   riminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
23       The Court finds that:
24          The defendant has not met his/her burden of establishing by clear and
25       convincing evidence that he/she is not likely to flee if released under 18 U.S.C. §
26       3142(b)or (c). This finding is based on     ;v~~~a,,,~   Q1~caa~;or
27         1 ~'r of ~te~u • sai~s~ar~ .~~us~
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Case 8:20-cr-00059-JLS Document 60 Filed 06/28/24 Page 2 of 2 Page ID #:382



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2
3       and/or
4 3.    ~The defendant has not met his/her burden of establishing by clear and
5       convincing evidence that he/she is not likely to pose a danger to the safety of any
6       other person or the community if released under 18 U.S.C. § 3142(b)or (c). This
7       finding is based on    ~Y,,~,.,,~   ~,~,~,o,,,,,   ,,~s~.~~~a order
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13       IT THEREFORE IS ORDERED that the defendant be detained pending further
14   vocation proceedings.
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16   ATED:       ~D      `-I
                                            KAREN E. SCOTT
17                                          UNITED STATES MAGISTRATE JUDGE
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